            Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 1 of 14




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


  BASHAYR NASSEE,
                                                    Civil Action No.
                      Plaintiff,
                                                    COMPLAINT FOR VIOLATIONS
       v.                                           OF THE FEDERAL SECURITIES
                                                    LAWS

   GIGCAPITAL3, INC., AVI S. KATZ,
   NIEL MIOTTO, JOHN MIKULSKY,                      JURY TRIAL DEMANDED
   RALUCA DINU, ANDREA BETTI-
   BERUTTO, and PETER WANG,

                      Defendants.



       Plaintiff Bashayr Nassee (“Plaintiff”) by and through Plaintiff’s undersigned attorneys,

brings this action on behalf of Plaintiff, and alleges the following based upon personal

knowledge as to those allegations concerning Plaintiff and, as to all other matters, upon the

investigation of counsel, which includes, without limitation: (a) review and analysis of public

filings made by GigCapital3, Inc. (“GigCapital” or the “Company”) and other related parties and

non-parties with the United States Securities and Exchange Commission (“SEC”); (b) review and

analysis of press releases and other publications disseminated by certain of the Defendants

(defined below) and other related non-parties; (c) review of news articles, shareholder

communications, and postings on the Company’s website concerning the Company’s public

statements; and (d) review of other publicly available information concerning GigCapital3 and

the Defendants.
            Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 2 of 14




                                  SUMMARY OF THE ACTION

       1.       This is an action brought by Plaintiff against GigCapital3 and the Company’s

Board of Directors (the “Board” or the “Individual Defendants”) for their violations of Section

14(a) and 20(a) of the Securities Exchange Act of 1934, 15.U.S.C. §§ 78n(a), 78t(a), and SEC

Rule 14a-9, 17 C.F.R. 240.14a-9, in connection with the proposed sale of the Company to

Lightning Systems, Inc. (“Lightning Systems”) (the “Proposed Transaction”).

       2.       On December 10, 2020, the Company entered into an Agreement and Plan of

Merger (the “Merger Agreement”) with Lightning Systems. Pursuant to the terms of the Merger

Agreement, Lightning Systems will merge with and into the Company, resulting in the

Company’s shareholders owning 24.3% of the combined company.

       3.       On December 31, 2020, in order to convince the Company’s shareholders to vote

in favor of the Proposed Transaction, the Board authorized the filing of a materially incomplete

and misleading registration statement with the SEC on Form S-4 (the “Registration Statement”),

in violation of Sections 14(a) and 20(a) of the Exchange Act.

       4.       For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

GigCapital3 and the Board for violations of Sections 14(a) and 20(a) of the Exchange Act and

Rule 14a-9. Plaintiff seeks to enjoin Defendants from taking any steps to consummate the

Proposed Transaction unless and until the material information discussed below is disclosed to

GigCapital3 shareholders before the vote on the Proposed Transaction or, in the event the

Proposed Transaction is consummated, recover damages resulting from the Defendants’

violations of the Exchange Act.




                                                  2
               Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 3 of 14




                                    JURISDICTION AND VENUE

          5.       This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

          6.       This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains

operations within, this District, or is an individual who is either present in this District for

jurisdictional purposes or has sufficient minimum contacts with this District so as to make the

exercise of jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

          7.       Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                            THE PARTIES

          8.       Plaintiff is, and has been at all times relevant hereto, the owner of GigCapital3

shares.

          9.       Defendant GigCapital3 is incorporated under the laws of Delaware and has its

principal executive offices located at 1731 Embarcadero Road, Suite 200, Palo Alto, California.

The Company’s common stock trades on the New York Stock Exchange under the symbol

“GIK.”

          10.      Defendant Avi S. Katz (“Katz”) is and has been the Chief Executive Officer and

Chairman of the Board of GigCapital3 at all times during the relevant time period.

          11.      Defendant Niel Miotto (“Miotto”) is and has been a director of GigCapital3 at all

times during the relevant time period.




                                                    3
          Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 4 of 14




       12.     Defendant John Mikulsky (“Mikulsky”) is and has been a director of GigCapital3

at all times during the relevant time period.

       13.     Defendant Raluca Dinu (“Dinu”) is and has been a director of GigCapital3 at all

times during the relevant time period.

       14.     Defendant Andrea Betti-Berutto (“Betti-Berutto”) is and has been a director of

GigCapital3 at all times during the relevant time period.

       15.     Defendant Peter Wang (“Wang”) is and has been a director of GigCapital3 at all

times during the relevant time period.

       16.     Defendants Katz, Miotto, Mikulsky, Dinu, Betti-Berutto, and Wang are

collectively referred to herein as the “Individual Defendants.”

       17.     The Individual Defendants, along with Defendant GigCapital3, are collectively

referred to herein as “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                  Background of the Company

       18.     GigCapital3 is a Private-to-Public Equity (PPE) company, also known as a blank

check company or a special purpose acquisition company, incorporated as a Delaware

corporation on February 3, 2020 and formed for the purpose of acquiring, through a merger,

capital stock exchange, asset acquisition, stock purchase, reorganization, recapitalization,

exchangeable share transaction or other similar business transaction with one or more operating

businesses or assets.

                        The Company Announces the Proposed Transaction

       19.     On July 20, 2020, the Company jointly issued a press release announcing the

Proposed Transaction. The press release stated in part:




                                                 4
    Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 5 of 14




LOVELAND, Colo. (Dec. 10, 2020) – Lightning eMotors (“Lightning eMotors”
or the “Company”), a leading provider of complete electrification solutions for
commercial fleets, and GigCapital3, Inc. (“GIK” or “GigCapital3”) (NYSE:
GIK), a Technology, Media and Telecom (TMT) Private-to-Public Equity
(PPE)™ corporation, today announced they have entered into a definitive
agreement for a business combination that will result in Lightning eMotors
becoming a publicly listed company. Upon closing of the transaction, the
combined operating company will be named Lightning eMotors, Inc. and will be
listed on the New York Stock Exchange under the ticker symbol ZEV.

Lightning eMotors is a high-growth electric vehicle manufacturer focused on
urban commercial zero-emission vehicles. Lightning eMotors is the only operator
with a full range of Class 3-7 battery-electric and fuel cell electric vehicles in
production today, addressing the large and growing fleet electrification market.
The Company’s unique modular architecture, software-enabled platform, and
integration capabilities provide a scalable, cost-effective solution to a highly
segmented and customized market. Lightning eMotors’ complete electrification
solutions cover medium- and heavy-duty vocational vehicles including
ambulances, delivery trucks, bucket trucks, food trucks, school buses and coach
buses, among others. Lightning eMotors’ significant time-to-market advantages
over competitors have enabled the Company to capture a diverse base of blue-
chip fleet customers, including Fluid Trucks, ABC Companies, ACE Parking and
California State Hospitals. Currently, Lightning eMotors has a contracted order
backlog of approximately 1,500 vehicles for delivery in 2021 and 2022, including
the world’s first fuel cell electric Class 6 truck. Lightning eMotors has the
country’s largest commercial zero-emission fleet vehicle manufacturing facility in
the U.S. with annual production capacity of 1,000 vehicles today and expanding
to 3,000 in 2021 and over 20,000 by 2025.

*       *      *

Transaction Overview

Pursuant to the business combination, GigCapital3 will acquire Lightning
eMotors through a reverse merger. The business combination values Lightning
eMotors at approximately $823 million pro forma equity value, at $10.00 per
share. The transaction will be funded by (i) the issuance of approximately $539
million in new common stock of GigCapital3 to current holders of Lightning
eMotors securities, (ii) cash from the GigCapital3 trust account of approximately
$202 million, assuming no redemptions by GigCapital3’s stockholders, and (iii)
Transaction supported by $125 million of gross proceeds from the issuance of
equity and convertible financings in a Private Investment in Public Equity (PIPE)
transaction, including a commitment from BP Technology Ventures and other
leading institutional investors. Following the transaction and after the payment of
transaction expenses, Lightning eMotors is expected to add over $270 million of
cash to its balance sheet. Assuming no redemptions of GigCapital3 shares, the



                                        5
         Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 6 of 14




       current holders of Lightning eMotors securities will hold approximately 66% of
       the issued and outstanding shares of common stock immediately following the
       close of the transaction.

       The boards of directors of both Lightning eMotors and GigCapital3 have
       unanimously approved the proposed business combination, which is expected to
       be completed in the first half of 2021, subject to, among other things, the approval
       by GigCapital3’s stockholders, satisfaction of the conditions stated in the
       definitive agreement, including regulatory approvals, and other customary closing
       conditions, including a registration statement being declared effective by the U.S.
       Securities and Exchange Commission (the “SEC”).

       Additional information about the proposed transaction, including a copy of the
       merger agreement and investor presentation, will be provided in a Current Report
       on Form 8-K to be filed by GigCapital3 with the SEC and available
       at www.sec.gov. Additional information about the proposed transaction will be
       described in GigCapital3’s registration statement relating to the merger, which it
       will file with the SEC.

       Advisors

       BofA Securities, Inc. is serving as exclusive financial advisor, and King &
       Spalding LLP is serving as legal advisor to Lightning eMotors. Oppenheimer &
       Co. Inc., Nomura Securities International, Inc., and BofA Securities, Inc. are
       serving as joint placement agents on the equity and convertible financing, and
       Mayer Brown is serving as legal counsel to the placement agents. Oppenheimer &
       Co. Inc. and Nomura Greentech are serving as joint financial advisors to
       GigCapital3. DLA Piper LLP (US) is serving as legal advisor to GigCapital3.
       ICR, LLC is serving as communications advisor for Lightning eMotors.

                 FALSE AND MISLEADING STATEMENTS
      AND/OR MATERIAL OMISSIONS IN THE REGISTRATION STATEMENT

       20.    On December 31, 2020, the Company authorized the filing of the Registration

Statement with the SEC.       The Registration Statement recommends that the Company’s

shareholders vote in favor of the Proposed Transaction.

       21.    Defendants were obligated to carefully review the Registration Statement prior to

its filing with the SEC and dissemination to the Company’s shareholders to ensure that it did not

contain any material misrepresentations or omissions. However, the Registration Statement

misrepresents and/or omits material information that is necessary for the Company’s



                                                6
         Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 7 of 14




shareholders to make informed decisions regarding whether to vote in favor of the Proposed

Transaction, in violation of Sections 14(a) and 20(a) of the Exchange Act.

                    Material False and Misleading Statements or Material
             Misrepresentations or Omissions Regarding the Financial Projections

       22.      The Registration Statement contains projections prepared by Lightning Systems’

management concerning the Proposed Transaction, but fails to provide material information

concerning such.

       23.      The SEC has repeatedly emphasized that disclosure of non-GAAP projections can

be inherently misleading, and has therefore heightened its scrutiny of the use of such

projections.1 Indeed, on May 17, 2016, the SEC’s Division of Corporation Finance released new

and updated Compliance and Disclosure Interpretations (“C&DIs”) on the use of non-GAAP

financial measures that demonstrate the SEC’s tightening policy.2 One of the new C&DIs

regarding forward-looking information, such as financial projections, explicitly requires

companies to provide any reconciling metrics that are available without unreasonable efforts.

       24.      In order to make management’s projections included in the Registration Statement

materially complete and not misleading, Defendants must provide a reconciliation table of the

non-GAAP measures to the most comparable GAAP measures.




1
   See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures: The SEC’s
Evolving Views, Harvard Law School Forum on Corporate Governance and Financial
Regulation (June 24, 2016), available at https://corpgov.law.harvard.edu/2016/06/24/non-gaap-
financial-measuresthesecs evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping
Companies Spin Losses Into Profits, N.Y. Times, Apr. 22, 2016, available at
http://www.nytimes.com/2016/04/24/business/fantasy-mathis-helping-companies-spin-ossesinto-
profits.html?_r=0.
2
 Non-GAAP Financial Measures, Compliance & Disclosure Interpretations, U.S. SECURITIES
AND       EXCHANGE          COMMISSION           (May     17,     2017), available   at
https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm.


                                                7
         Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 8 of 14




       25.      Specifically, with respect to the Lightning Systems’ projections, the Company

must disclose the line item projections for the financial metrics that were used to calculate the

non-GAAP measures, including: (i) Gross Profit; and (ii) EBITDA.

       26.      Disclosure of the above information is vital to provide investors with the complete

mix of information necessary to make an informed decision when voting on the Proposed

Transaction.    Specifically, the above information would provide shareholders with a better

understanding of any analyses performed by the financial advisors in connection with the

Proposed Transaction.

                      Material False and Misleading Statements or Material
             Misrepresentations or Omissions Regarding J.P. Morgan’s Financial Opinion

       27.      The Registration Statement notes that despite engaging Nomura and Oppenheimer

as financial advisors during the sales process leading up to the Proposed Transaction, the Board

did not obtain a third-party valuation in connection with the Proposed Transaction. Instead, the

Registration Statement notes that the Board used its own judgment to determine the Proposed

Transaction is fair to GigCapital’s shareholders.

       28.      The Registration Statement fails to provide any information as to what assistance

was provided by Nomura and Oppenheimer in connection with the Proposed Transaction.

       29.      Without the above described information, the Company’s shareholders are unable

to cast a fully informed vote on the Proposed Transactions. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.




                                                    8
            Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 9 of 14




                     Material False and Misleading Statements or Material
                    Misrepresentations or Omissions Regarding the Sales Process

          30.   The Registration Statement describes the events leading up to the Proposed

Transaction, but fails to provide material information concerning such.

          31.   First, the Registration Statement fails to provide sufficient information concerning

the engagement of financial advisors Nomura and Oppenheimer, including: (i) the specific roles

of each financial advisor in the sales process; (ii) the analyses performed by each financial

advisor in connection with the Proposed Transaction; (iii) the compensation each financial

advisor was entitled to receive (or have already received) in connection with the sales process;

and (iv) whether either Nomura or Oppenhaimer have performed past services for any of the

parties to the Proposed Transaction.

          32.   Next, the Registration Statement fails to disclose whether the Company entered

into any confidentiality agreements with any other interested third parties during the sales

process, including whether such confidentiality agreements contained “don’t-ask, don’t-waive”

or standstill provisions.

          33.   Without the above described information, the Company’s shareholders are unable

to cast a fully informed vote on the Proposed Transactions. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.

                                             COUNT I

                     (Against All Defendants for Violations of Section 14(a)
                of the Exchange Act and Rule 14a-9 Promulgated Thereunder)

          34.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.




                                                  9
         Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 10 of 14




       35.     Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

       36.     Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that communications with stockholders in a recommendation statement shall not

contain “any statement which, at the time and in the light of the circumstances under which it is

made, is false or misleading with respect to any material fact, or which omits to state any

material fact necessary in order to make the statements therein not false or misleading.” 17

C.F.R. § 240.14a-9.

       37.     Defendants have issued the Registration Statement with the intention of soliciting

shareholders support for the Proposed Transaction. Each of the Defendants reviewed and

authorized the dissemination of the Registration Statement, which fails to provide critical

information regarding, among other things, the financial projections for the Company.

       38.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Defendants, by virtue

of their roles as officers and/or directors, were aware of the omitted information but failed to

disclose such information, in violation of Section 14(a). The Defendants were therefore

negligent, as they had reasonable grounds to believe material facts existed that were misstated or

omitted from the Registration Statement, but nonetheless failed to obtain and disclose such




                                                     10
         Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 11 of 14




information to shareholders although they could have done so without extraordinary effort.

       39.     The Defendants knew or were negligent in not knowing that the Registration

Statement is materially misleading and omits material facts that are necessary to render it not

misleading. The Defendants undoubtedly reviewed and relied upon the omitted information

identified above in connection with their decision to approve and recommend the Proposed

Transaction.

       40.     The Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Registration Statement, rendering the

sections of the Registration Statement identified above to be materially incomplete and

misleading. Indeed, the Defendants were required to be particularly attentive to the procedures

followed in preparing the Registration Statement and review it carefully before it was

disseminated, to corroborate that there are no material misstatements or omissions.

       41.     The Defendants were, at the very least, negligent in preparing and reviewing the

Registration Statement. The preparation of a Registration Statement by corporate insiders

containing materially false or misleading statements or omitting a material fact constitutes

negligence. The Defendants were negligent in choosing to omit material information from the

Registration Statement or failing to notice the material omissions in the Registration Statement

upon reviewing it, which they were required to do carefully as the Company’s directors. Indeed,

the Defendants were intricately involved in the process leading up to the signing of the Merger

Agreement and the preparation of the Company’s financial projections.

       42.     The misrepresentations and omissions in the Registration Statement are material

to Plaintiff, who will be deprived of his right to cast an informed vote if such misrepresentations

and omissions are not corrected prior to the vote on the Proposed Transaction.




                                                11
           Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 12 of 14




          43.   Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                             COUNT II

                            (Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act)

          44.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          45.   The Individual Defendants acted as controlling persons of GigCapital3 within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of GigCapital3, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Registration Statement filed with the SEC, they had the power to influence and control and

did influence and control, directly or indirectly, the decision making of the Company, including

the content and dissemination of the various statements that Plaintiff contends are materially

incomplete and misleading.

          46.   Each of the Individual Defendants was provided with, or had unlimited access to,

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause the statements to be corrected.

          47.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Registration Statement at issue contains



                                                  12
         Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 13 of 14




the unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were thus directly involved in preparing this document.

       48.     In addition, as set forth in the Registration Statement sets forth at length and

described herein, the Individual Defendants were involved in negotiating, reviewing, and

approving the Merger Agreement. The Registration Statement purports to describe the various

issues and information that the Individual Defendants reviewed and considered. The Individual

Defendants participated in drafting and/or gave their input on the content of those descriptions.

       49.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       50.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       51.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      Directing the Individual Defendants to disseminate an Amendment to the

Registration Statement that does not contain any untrue statements of material fact and that states




                                                13
         Case 1:21-cv-00587-AKH Document 1 Filed 01/22/21 Page 14 of 14




all material facts required in it or necessary to make the statements contained therein not

misleading;

       C.      Directing Defendants to account to Plaintiff for all damages sustained because of

the wrongs complained of herein;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: January 22, 2021                                        Respectfully submitted,

                                                               By: /s/ Joshua M. Lifshitz
                                                               Joshua M. Lifshitz
                                                               Email: jml@jlclasslaw.com
                                                               LIFSHITZ LAW FIRM, P.C.
                                                               821 Franklin Avenue, Suite 209
                                                               Garden City, New York 11530
                                                               Telephone: (516) 493-9780
                                                               Facsimile: (516) 280-7376

                                                               Attorneys for Plaintiff




                                                 14
